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 8                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 9                                             AT SEATTLE
10   DEVELOPERS SURETY AND INDEMNITY
11   COMPANY,                                               Case No.: 2:18-cv-01206

12                      Plaintiff,                          COMPLAINT FOR DECLARATORY
                                                            JUDGMENT
13           v.
14
     WOODLAND PARK TOWNHOMES, LLC,
15
                        Defendant.
16

17           Comes now, Plaintiff Developers Surety and Indemnity Company, by and through its

18   attorneys Cozen O’Connor, and alleges as follows:

19                                           I.      PARTIES

20           1.1        Developers Surety and Indemnity Company (“DSIC”), is a California

21   corporation with its principal place of business at Irvine, California.

22           1.2        Upon information and belief, Defendant Woodland Park Townhomes, LLC

23   (“Woodland Park”), is a Washington limited liability company with its principal place of

24   business at Lynwood, Washington.

25

26
                                                                                 LAW OFFICES OF
      COMPLAINT FOR DECLARATORY JUDGMENT - 1                                   COZEN O’CONNOR
                                                                           A PROFESSIONAL CORPORATION
                                                                                 999 THIRD AVENUE
                                                                                    SUITE 1900
                                                                            SEATTLE, W ASHINGTON 98104
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 1                                        II.      JURISDICTION

 2           2.1        This court has jurisdiction under 28 U.S.C. § 1332 as there is complete diversity

 3   of citizenship between the parties and the amount in controversy exceeds $75,000.

 4           2.2        Upon information and belief, the sole member of Woodland Park Townhomes,

 5   LLC is the Washington limited liability company Hardy Development Company, LLC.

 6           2.3        Upon information and belief, the sole member of Hardy Development

 7   Company, LLC is the Washington limited liability company, Gold Sun Investments, LLC.

 8           2.4        Upon information and belief, the sole member of Gold Sun Investments, LLC is

 9   Robert Hardy, a Washington citizen.

10           2.5        Venue is proper under 28 U.S.C. § 1391(b) because Defendant Woodland Park

11   is subject to the Court’s personal jurisdiction in the Western District of Washington and a

12   substantial part of the events giving rise to this claim occurred in the Western District of

13   Washington.

14
                                   III.      THE INSURANCE POLICY
15
             3.1        DSIC issued to Urban Construction Company, LLC (“Urban”) Commercial
16
     General Liability Policy No. BIS0019539-0 for the policy period July 28, 2014 to July 28,
17
     2015 (the “Policy”).
18
             3.2        Woodland Park asserts it is an “additional insured” under the Policy’s Blanket
19
     Additional Insured endorsement which provides coverage for organizations who have “agreed
20
     in writing in a contract or agreement [with Urban] that such…organization be added as an
21
     additional insured.”
22
             3.3        According to the Policy’s Declarations, the Policy provides coverage in the
23
     amount of $1,000,000 for each “occurrence,” with a general aggregate limit of $2,000,000, and
24
     a products/completed operations limit of $2,000,000.
25

26
                                                                                   LAW OFFICES OF
      COMPLAINT FOR DECLARATORY JUDGMENT - 2                                    COZEN O’CONNOR
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 1           3.4        The Insuring Agreement provides coverage for “those sums that the insured

 2   becomes legally obligated to pay as damages because of ‘bodily injury’ or ‘property damage’

 3   to which this insurance applies. [DSIC] will have the right and duty to defend the insured

 4   against any ‘suit’ seeking those damages.”

 5           3.5        The Insuring Agreement limits coverage to “‘property damage’ [that] occurs

 6   during the policy period.”

 7           3.6        The Coverage Trigger Endorsement limits coverage to “property damage” that

 8   the underlying claimant “sustains… during the policy period[.]”

 9           3.7        The Policy’s “Your Product” exclusion precludes coverage for “property

10   damage” to Urban’s “products.”

11           3.8        The Policy’s Residential Housing exclusion precludes coverage for “new

12   residential construction.”

13           3.9        The Blanket Additional Insured endorsement terminates an additional insured’s

14   status as an additional insured when Urban’s “operations for that additional insured are

15   completed.”

16           3.10       The Construction Management exclusion precludes coverage for “‘property

17   damage’ arising out of or resulting from any insured acting as or in the capacity of a

18   ‘construction manager’ or ‘construction consultant.’”

19           3.11       The Additional Conditions endorsement precludes coverage if Urban: (1) was

20   not an additional insured entitled to defense and indemnity under its contractors’ or

21   subcontractors’ CGL policies; (2) failed to obtain certificates of insurance from its contractors

22   or subcontractors; (3) the contractors’ or subcontractors’ CGL policies failed to provide

23   insurance in amounts equal to or greater than the Policy; and (4) Urban did not obtain hold

24   harmless agreements from its contractors and subcontractors indemnifying Urban against all

25   loss related to work performed for Urban.

26
                                                                                LAW OFFICES OF
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 1                                            IV.      FACTS

 2           4.1        Woodland Park developed the Woodland Park Townhomes project (the

 3   “Townhomes”) consisting of seven townhome-units in Seattle, Washington located at 4319-

 4   4325 Woodland Park Avenue North, Seattle, Washington.

 5           4.2        Woodland Park hired Urban as the Construction Manager for the Townhomes’

 6   construction. Urban was obligated to perform superintendent/supervisor services over the

 7   project’s daily operations.

 8           4.3        The Policy expired on July 28, 2015.

 9           4.4        Construction on the Townhomes’ structures began after August 28, 2015, when

10   the City of Seattle approved the Townhomes’ foundational steel decking and fabrication.

11           4.5        On August 22, 2016, the Woodland Park Townhomes Homeowners Association

12   (the “HOA”) incorporated under the laws of Washington.

13           4.6        On September 22, 2017, the City of Seattle issued occupancy permits for the

14   Woodland Park Townhomes.

15           4.7        On September 22, 2017, the HOA filed suit against Woodland Park claiming

16   (1) breach of contract, (2) breach of express warranty, and (3) breach of warranty of

17   habitability arising from numerous unspecified construction defects causing “property

18   damage” to the Townhomes. The Complaint seeks general damages, special damages,

19   attorneys’ fees, and costs. The suit is captioned Woodland Park Townhomes Homeowners

20   Association v. Woodland Park Townhomes, LLC, Case No. 17-2-24978-5 SEA (King Cty. Sup.

21   Ct. Sep. 22, 2017) (the “Suit”).

22           4.8        Woodland Park tendered defense of the homeowners suit to DSIC and DSIC

23   accepted the tender subject to a reservation of rights.

24

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      COMPLAINT FOR DECLARATORY JUDGMENT - 4                                  COZEN O’CONNOR
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 1                           V.       CLAIM FOR DECLARATORY RELIEF

 2           5.1        DSIC re-alleges paragraphs 1.1 through 4.7 as if fully set forth here.

 3           5.2        An actual and justiciable controversy exists between Woodland Park and DSIC

 4   with respect to coverage under the Policy’s terms and applicable law. DSIC contends that

 5   coverage is barred in whole or in part in connection with the Suit for reasons, including but not

 6   limited to, the following:

 7           5.3        All “property damage” alleged in the Suit occurred after the Policy expired.

 8           5.4        The HOA and/or individual homeowners did not suffer “property damage”

 9   during the policy period.

10           5.5        The Townhomes are Urban’s “product.”

11           5.6        The Townhomes are “new residential construction.”

12           5.7        The alleged “property damage” occurred after Urban completed its operations

13   for Woodland Park.

14           5.8        The alleged “property damage” arose from Urban acting as a “construction

15   manager.”

16           5.9        Urban: (1) was not an additional insured under its contractors’ or

17   subcontractors’ CGL policies; (2) failed to obtain certificates of insurance from its contractors

18   or subcontractors; (3) its contractors’ or subcontractors’ CGL policies failed to provide

19   insurance in amounts equal to or greater than the Policy; and (4) Urban did not obtain hold

20   harmless agreements from its contractors and subcontractors indemnifying it against all loss

21   related to work the contractors or subcontractors performed for Urban.

22
                                      VI.      PRAYER FOR RELIEF
23
             WHEREFORE, DSIC prays for relief as follows:
24
             6.1        For a declaration of this Court construing and interpreting the Policy
25
     accordingly:
26
                                                                                    LAW OFFICES OF
      COMPLAINT FOR DECLARATORY JUDGMENT - 5                                     COZEN O’CONNOR
                                                                              A PROFESSIONAL CORPORATION
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 1                      1.    That DSIC is not obligated to defend or indemnify Woodland Park in

 2           the Suit.

 3                      2.    That all the “property damage” alleged in the Suit occurred after the

 4           Policy expired.

 5                      3.    That the HOA and/or individual homeowners did not suffer “property

 6           damage” during the policy period.

 7                      4.    That the Townhomes were Urban’s “product” for which there is no

 8           coverage under the Policy.

 9                      5.    That the Townhomes are “new residential construction” for which there

10           is no coverage under the Policy.

11                      6.    That the alleged “property damage” occurred after Urban completed its

12           operations for Woodland Park precludes coverage under the Policy.

13                      7.    That the alleged “property damage” arose as a result of Urban acting as

14           a “construction manager” precludes coverage under the Policy.

15                      8.    That Urban: (1) was not an additional insured under its contractors’ or

16           subcontractors’ CGL policies; (2) failed to obtain certificates of insurance from its

17           contractors or subcontractors; (3) its contractors’ or subcontractors’ CGL policies failed

18           to provide insurance in amounts equal to or greater than the Policy; and (4) did not

19           obtain hold harmless agreements from its contractors and subcontractors indemnifying

20           it against all loss related to work the contractors or subcontractors performed for Urban.

21           Therefore, there is no coverage under the Policy for any of the “property damage”

22           alleged in the Suit.

23                      9.    For DSIC’s attorneys’ fees and costs in this action; and

24                      10.   For such other and further relief as the court deems just and proper.
     //
25   //
26   //
                                                                                  LAW OFFICES OF
      COMPLAINT FOR DECLARATORY JUDGMENT - 6                                   COZEN O’CONNOR
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 1           DATED this 16th day of August, 2018.

 2                                                   COZEN O'CONNOR
 3

 4                                             By:     /s/ William F. Knowles
                                                     William F. Knowles, WSBA No. 17212
 5                                                   999 Third Avenue, Suite 1900
                                                     Seattle, Washington 98104
 6                                                   Telephone: 206.340.1000
                                                     Email:      wknowles@cozen.com
 7

 8                                                   Attorneys for Plaintiff Developers Surety and
                                                     Indemnity Company
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                                                                            LAW OFFICES OF
      COMPLAINT FOR DECLARATORY JUDGMENT - 7                             COZEN O’CONNOR
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 1                                   CERTIFICATE OF SERVICE

 2           I hereby certify that on August 16, 2018, I electronically filed the foregoing document

 3   with the Clerk of the Court using the CM/ECF system which will send notification of such

 4   filing to the following to all counsel of record.

 5
             DATED this 16th day of August, 2018.
 6

 7                                                  COZEN O’CONNOR

 8

 9                                                  By:     /s/ Bonnie L. Buckner
                                                          Bonnie L. Buckner, Legal Secretary
10                                                        999 Third Avenue, Suite 1900
                                                          Seattle, Washington 98104
11                                                        Telephone: 206.340.1000
12                                                        Toll Free Phone: 800.423.1950
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                                                                                 LAW OFFICES OF
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